

Matter of Attorneys In Violation of Judiciary Law § 468-a (Laursen) (2019 NY Slip Op 06438)





Matter of Attorneys In Violation of Judiciary Law § 468-a (Laursen)


2019 NY Slip Op 06438


Decided on August 29, 2019


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.




Decided and Entered: August 29, 2019
[*1]
In the Matter of ATTORNEYS IN VIOLATION OF JUDICIARY LAW
 § 468-a.
andFRANCINE DENICE LAURSEN, ON MOTION Respondent. (Attorney Registration No. 3930336)

Calendar Date: August 12, 2019




Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.
Francine Denice Laursen, Washington, DC, respondent
pro se.



DECISION AND ORDERMotion by respondent for an order reinstating her to the practice of
law following her suspension by May 2019 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 172 AD3d 1706 [2019]; see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).
Upon reading respondent's notice of motion, affidavit with exhibits sworn to June 24, 2019, affidavit of compliance and her supplemental response filed August 12, 2019, and upon reading the correspondence by the Attorney Grievance Committee for the Third Judicial Department dated August 2, 2019, and having determined, by clear and convincing evidence, that (1) respondent has complied with the order of suspension and the Rules of this Court, (2) respondent has the requisite character and fitness to practice law, and (3) it would be in the public interest to reinstate respondent to the practice of law (see Matter of Attorneys in Violation of Judiciary Law § 468—a [Rogers], 173 AD3d 1427, 1428 [2019]; Matter of Attorneys in Violation of Judiciary Law § 468-a [Serbinowski], 164 AD3d 1049, 1050 [2018]), it is

	ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law, effectively immediately.
Egan Jr., J.P., Lynch, Mulvey, Aarons and Rumsey, JJ., concur.








